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                                       Case 2:18-cv-04840-CMR Document 1 Filed 11/08/18 Page 1 of 14
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                                                                                            COVER SHEET                                                                          ~: \ ~ ~                 L1 a
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 The JS 44 CIVIi cover sheet and the mformat1on conta1n~a h';¢1rlt\qi/hH r(l~lace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court ThIS fo~~ approved byth"dndf'c1al GOnlerence of the Gnited States m September 1974, 1s required for the use of the Clerk of Court for the
 purpose of m1tiatmg the CIVIi docket shee9(SFE INSIRUCT[()NS ON NEXT PAGE OF '/J{/s fVRM)

 I. (a) PLAINTIFFS                                                                                                                DEFENDANTS
 Hannah Curran                                                                                                                  Amica Mutual Insurance Company

      (b)     County of Residence of First Listed Plaintiff                                                                       County of Residence of First Listed Defendant
                                      rt.XCEPT !NUS PLAINT!f                                                                                                      (/NUS PlAINTIFFCASf:SO            Y1
                                                                                                                                  NOTE          IN LAND CONDEMNA. T!ON CA.SES. CSE THE CS<;A-fKJIN
                                                                                                                                                THL TRAC1 OF! A.l\D INVOLVED

      (c)    Attorneys (firm Name. Address. and Telephone Num                                                                     Attorneys (lj Known)
 Vanderveen O'Neill Hartshorn & Levin - 215-54                                                                                 Mennies & Palmer, LLC - 610-490-8001
 1219 Spruce Street                                                                                                            10 East 6th Ave. Suite 300
 Philadelphia. PA 19107                                                                                                        Conshohocken. PA 19428

II. BASIS OF JURISDICTION (Place an. X" mOneBoxOn/y)                                                                                                                                                        .. X" m One Box for Ptam11fj
                                                                                                                             (}or D1vers1ty Cases                                                   and One Box for Defendam)
'.1 I    C S Government                     '.1 3     Federal Question                                                                                                                                               PTF       DEF
           Plaint.tT                                    (US Government N01 a Party)                                     C1t1zen of This State                                lnc..orporated or Prmc;1pal Place
                                                                                                                                                                                of Busmess In Thrs State

'.1 2    t.: S Government                    ~4       Diversity                                                         Citizen of Another State                     n   2   lnCOll'Orated and Pnnc1pal Place
              Defendant                                 (lndicate C111zensh1p of Parties m ltem Ill)                                                                            of Busmess In Another State




                                                                                                                                                                      Chck here for Nature of Smt Code Descn t1ons
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n   I IO Insurance                             PERSONAL INJLRY                     PERSONAL INJl:RY                     '.1 625 Drug Related Seizure           CJ 422 Appeal 28 l'SC 158         ll 3 75 False Claims Act
'.1 120 Manne                              CJ 'l IO A111'lane                   0 365PersonallnJury ·                           ofProperty2l t.:SC881          '.1423W1thdrawal                  :'.J 'l76Qw Tarn(3l l'.SC
'.1 I 30 Miller Act                        0 31 5 A•ll'lane Product                     Product Liab1ht)'               '.1 690 Other                                 28 !;SC 157                          'l729(a))
CJ I 40 Neg011able Instrument                       L1ab1hty                    '.1 367 Health Carei                                                                                           :'.J   400 State Reapportmnment
'.1 150 Recovery of Ovell'aymenr           n 320 Assault. Libel &                        Pharrnaceu!loal                                                       l::J!&!fim:'.ff]ilmfiiL=~ :'.J         410 Anlltrust
           & Enforcement of lodgment                Slander                              Personal Iniury                                                        '.1 820 Copynghts              '.1    430 Banks and Bankmg
n 15 l Medicare Ac't                       '.1 3 30 Federal Employers·                   Product Ltabtl11)'                                                     '.1 830 Patent                 ll     450 Commerce
CJ I 52 Recovery of Defaulted                       L1ab1hty                    n 368 Asbestos Personal                                                         '.1 8.35 Patent · A.bbrevtated '.1    460 Deportation
           Student Loans                   '.1 340 Marine                                 Injury Product                                                                 New Drug Application  '.1    4 70 Racketeer Influenced and
           (Exc.ludes Veterans}                                                          Liab1hty                                         :'.J 840 Trademark                                               Corrupt Orgamza!IOns
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           of Veteran s Benefits               350 Motor Vehicle                CJ 'l 70 Other Fraud        :'.J 710 Fair Labor Standards :'.J 861 HrA. (I 395ff)        '.1                          490 Cable/Sat TV
n ! 60 Stockholders Smts                                                        '.1 371 Truth m Lendmg               Act                  '.1 862 Black l.ung (9ll}      ll                           850 Secunlles/Commod1t1es/
'.1 190 Other Contract                             Product Liab1hty             0 380 Other Personal        n 720 Labor/Management        :J 863 D!WC/DIWW (405(g))                                        Exohange
'.1                                            360 Other Personal                        Property Damage             Rela11ons            '.1 864 SSII> T'Jtle XVI       '.1                          890 Other Statutory Actwns
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                                                                                         Product Liab1ltty  0 75 l f aimly and Medical                                   'J                           891 Enviromnental Matters

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 '.1 220 Foreclosure                      '.1 441 Votmg                          CJ 46 'l A.hen Detamee                        Income Security Aot                       or Defendant)           :'.J 899 Adm1mstrattve Prooedurc
 8 230 Rent I.ease & Eiectrnent           n 442 Employment                       CJ 5 I 0 Mol!Ons to Vacate                                                    :'.J 8 71 IRS Tbird Party                  Act/Re>iew or Appeal of
 '.1 240 Torts to Land                    CJ 44 3 llousmgt                               Sentence                                                                        26 CSC 7609                      Agency Decis10n
 '.1 245 Tort Product L1ab1hty                    Accommodattons                 ::1 530 General                                                                                                 :'.J 950 Conslltutionahry of
 ll 290 All Other Real Property           CJ 445 Amer w/Disab1hties • 0 535 Death Penalty                                       IMMIGRJ\TION                                                              State Statutes
                                                  Employment                         Otber-                        '.1     462 Naturahzatton Applicatton
                                          '.1 446 Amer wiD1sab1ht1es • CJ 540 Mandamus & Other                     n       465 Other lmm1gratton
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                                                                                                                                                    rs eufy)                        Transfer                      Direct File
                                                Cite the Li S C1v1l Statute under which you are filing (Do not cite jurisdictional statutes unless diversity)
VI. CAt:SE OF ACTION i-=2~8"""U....S._..~C~S~e~c~....1~33~2~a~~a~a-.n_d~S._.e~c~.~14....4._.1~a'"'"---------------------­
                                                Bnef descnpt10n of cause
                                                Claim for uninsured motorist                     benefits
VII. REQGESTED IN                               ::J    CHECK IF THIS IS A CLASS ACTIO:>.                                   DEMAND$                                        CHECK YES only 1f d
            CO~PLAINT:                                 Ll\DER RULF. 2.3, F R Cv P                                                                                         JLRY    DEMA~D:

VIII. RELATED CASE(S)
      IF ANY
                                                      (See mstru' t1ons)
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      RLCE.JPT #                      A.MOCNT                                           APPL YING If P                                           Jt:DGE                             MAG JCDGE
                             Case 2:18-cv-04840-CMR Document 1 Filed 11/08/18 Page 2 of 14
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                                                                         t::~lTED
                                                                               STATES DISTRICT COt:RT
                                                                      THE EASTER!'li DISTRICT OF PENNSYLVANIA                             18             484 0
                                       ~' r    l 1\~   .   j   ' '                   OESIGNATJO!'li FORl\1
                      (to be used by cob,zseJ OJJ.PJo.ie 'l}la.Jiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Pla1~~. _
                                                                     . ·80~E. Lancaster Avenue, Villanova, PA 19085
                                                                 __,l.               _ _ _ _ _ _                        - -               - -




Address of Defendant·                                                                100 Amica Way, Lincoln, RI 02865
Place of Accident, Incident or Transaction: __ _ _                               _     _      U.S. Route 15, Tioga Township, PA


RELATED CASE, IF ANY:

Case Number·                                                             Judge       __ _                                            Date Termmated

C1v1l cases are deemed related when Yes 1s answered to any of the followmg quest10ns

       Is this case related to property mcluded man earlier numbered smt pendmg or w1thm one year                                         YesD             No[ZJ
       previously termmated action m this court?

2      Does this case involve the same issue of fact or grow out of the same transaction as a pnor smt                                    YesD             No[{]
       pendmg or w1thm one year previously termmated action m this court?

3      Does this case mvolve the val1d1ty or mfrmgement of a patent already m suit or any ear her                                         YesD             No[{]
       numbered case pendmg or withm one year previously termmated action ofth1s court?

4      ls this case a second or successive habeas corpus, social security appeal, or pro se c1v1l nghts                                   YesD             No[{]
       case filed by the same md1v1dua!?

I certify that, to my knowledge, the w1thm case Dis
this court except as noted above

DATE               ll/_? /t1
CIVIL' (Place a      v in one category only)
A.            Federal Question Cases:                                                               B.    Diversity Jurisdiction Cases.

0      I     lndemmty Contract, Manne Contract, and All Other Contracts                             D     I     Insurance Contract and Other Contracts
D      2     FELA                                                                                   D     2     Airplane Personal Iniury




                                                                                                  ~
D      3     Jones Act-Personal Injury                                                                          Assault, Defamation
D      4     Antitrust                                                                                          Manne Personal Injury

B
D
       5
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       7
             Patent
             Labor-Management Relat10ns
             Civli Rights
                                                                                                                Motor Vehicle Personal Injury
                                                                                                                Other Personal Iniury (Please specify) _
                                                                                                                Products L1ab1hty
                                                                                                                                                              _       _   _   _


D      8     Habeas Corpus                                                                                      Products Ltab1hty - Asbestos
                                                                                                    D
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       II
             Secunt1es Act(s) Cases
             Social Security Review Cases
             All other Federal Question Cases
                                                                                                          9     All other D1ver>1ty Cases
                                                                                                                (Please specify) _

              (Please specify) _



                                                                                ARBITRATION CERTIFICATION
                                                       ([he effect of this cerllfkatwn 1s to remove the case from elrg1b1ltty for arb1trat1on)


l, .                                                            -~   counse.I of record or pro se plamt1ff, do hereby certify


     D       Pursuant to Local C1v1l Rule 53 2, § 3(c} (2), that to the best of my knowledge and behef, the damages recoverable m this c1vli action case
             exceed the sum of $150,000 00 exclusive of mterest and costs


     D        Rehef other than monetary damages 1s sought


DATE
                                                                                  Attorney-at-I.aw I Pro Se Plazntzjf                          Attorney ID #(If applicable)

NOTE A tnal de novo will be a tnal by 1ury only 1fthere has been c:omphance with f RC P 38

C!v 609 (5,20181
                        Case 2:18-cv-04840-CMR Document 1 Filed 11/08/18 Page 3 of 14


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                          ~ u~~   u'\     IN THE UNITED STATES DISTRICT COURT
                                        OR THE EASTER.~ DISTRICT OF PENNSYLVANIA
                                    CASE..~AGEMENT TRACK DESIGNATION FORM
     t '
............
                Hannah Curran                -                                           CIVIL ACTION

                                        v.                                           18           4840
               Amica Mutual Insurance Company
                                                                                         NO.

           In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
           plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
           filing the complaint and serve a copy on all defendants. (See § I :03 of the plan set forth on the reverse
           side of this form.) In the event that a defendant does not agree with the plaintiff regardmg said
           designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
           the plaintiff and all other parties, a Case Management Track Designat10n Form specifymg the track
           to which that defendant believes the case should be assigned.

           SELECT ONE OF THE FOLLOWING CASE MANAGE'.\1ENT TRACKS:

           (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                              ( )
           (b) Social Security - Cases requesting review of a decision of the Secretary of Health
               and Human Services denying plaintiff Social Security Benefits.                                   ( )
           (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.          )

           (d) Asbestos - Cases mvolving claims for personal injury or property damage from
               exposure to asbestos.                                                                            ( )
           (e) Special .Management - Cases that do not fall into tracks (a) through (d) that are
               commonly referred to as complex and that need special or intense management by
               the court. (See reverse side of this form for a detailed explanat10n of special
               management cases.)

           (f) Standard Management·· Cases that do not fall into any one of the other tracks.


               I 118/18                      Richard J. Mennies                Amica Mutual Insurance Company
           Date                                  Attorney-at-law                    Attorney for
                610-490-800 I                 570-846-2987                      rmennies@menniespalmer.com

           Telephone                             FAX Number                         E-'.\1ail Address


           (Civ. 660) I 0/02




                                                                                                 NOV - 8 2018.
             Case 2:18-cv-04840-CMR Document 1 Filed 11/08/18 Page 4 of 14


               •.
                          IN THE-UNITED STATES DISTRICT COGRT
                       FOR THE EASTERN DISTRICT OF PENNSYLV A~IA



Hannah Curran

        vs.                                                 NO:

Amica ~utual Insurance Company
                                                                   18         4840

                                       :SOTICE O.F REMOVAL


TO:    UNITED STATES DISTRICT COURT
       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       Defendant Amica Mutual Insurance Company, by and through its attorney, Richard J.

Mennies, Esquire, hereby files this Notice of Removal of the above-captioned matter from the

Court of Common Pleas of Philadelphia County, Pennsylvania, the jurisdiction in which it is now

pending, to the United States District Court for the Eastern District of Pennsylvania, and in

support thereof, avers as follows:

        1.          Plaintiff filed a Complaint in the Court of Common Pleas of Philadelphia County

on October 12, 2018, and docketed at 181001669. (See attached Exhibit "A").

       2.           The Complaint was served on Defendant on October 15, 2018.

       3.           The Complaint seeks damages as a result of an automobile accident which

occurred on or about January 29, 2017, and involves a claim for insurance benefits from this

accident.

       4.           At the time this action was commenced and continuing to the present, Defendant

Amica Mutual Insurance Company (hereinafter "Amica") is organized and exists pursuant to the

Rhode Island Corporation and maintains its principal place of business in Lincoln, Rhode Island.
              Case 2:18-cv-04840-CMR Document 1 Filed 11/08/18 Page 5 of 14



         5.       At the time this action was commenced and continuing to the present, Plaintiff is

a resident and citizen of the Commonwealth of Pennsylvania, residing at 800 E. Lancaster

Avenue, Villanova, Pennsylvania 19085.

         6.       The amount in controversy, based on the allegations of the Complaint, exceeds

the sum of $75,000.00 exclusive of interest and costs.

         7.       The present lawsuit is removable from State Court to the District Court of the

United States pursuant to 28 l.J.S.C. §1332(a)(I) and §144l(a).

         8.       Copies of all process, pleadings and orders that have been received by Defendant

are filed herewith.

         9.       This Notice is timely, having been filed within thirty days of service of the

Complaint.

         WHEREFORE, Defendant request that this action be removed from the Court of

Common Pleas of Philadelphia County, Commonwealth of Pennsylvania to the Cnited States

District Court for the Eastern District of Pennsylvania.


                                               MAYERS,     ~ENNIES     & SHERR, LLP

Dated:                                  BY:   ~~                       RMl252
                                              RicI-IAIUJ J. MENNIES, ESQUIRE #43966
                                               Validation of Signature Code RM 1252
                                               I 0 E. 6th Avenue, Suite 300
                                               Conshohocken, PA 19428
                                               610-490-800 I
                                               rmennies@menniespalmer.com




                                                  2
          Case 2:18-cv-04840-CMR Document 1 Filed 11/08/18 Page 6 of 14



                     IN THE UNITED STATES DISTRICT COL'RT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



Hannah Curran

        vs.                                            NO:

Amica Mutual Insurance Company



                               CERTU'ICA TE OF SERVICE


       I, RICHARD J. MENNIES, ESQUIRE, Attorney for Defendant, hereby certify that a true

and correct copy of the foregoing Notice of Removal has been served on the following via email,

on the date listed below:

Van der Veen O'Neill Hartshorn & Levin
Michael T. van der Veen, Esquire
1219 Spruce Street
Philadelphia, PA 19107



                                           MENNIES & PALMER, LLC

                             BY:    ~~L~.
                                       J.
                                                                      . . RMl252
                                           RICHARD ME~~IES, ESQUIRE #43966
                                           Validation of Signature Code R.\11252
                                           10 E. 6th Avenue, Suite 300
                                           Conshohocken, PA 19428
                                           610-490-8001
                                           rmennies@menniespalmer.com
Case 2:18-cv-04840-CMR Document 1 Filed 11/08/18 Page 7 of 14




                      Exhibit A
                      Case 2:18-cv-04840-CMR Document 1 Filed 11/08/18 Page 8 of 14




  VAN DER VEE!\. O'NEILL, HARTSHORN & LEVIN
  BY: :'\1ichael T. van der Veen
         II> No. 75616
         1219 Spruce Street
         Philadelphia, PA 19107
         P: (215) 546-1000
         F: (215) 546-8529
   HANNAH CL'RRA1'1                        COURT OF COMMON PLEAS
   800 E. Lancaster Annue                  PHILADELPHIA COUNTY
   Villanova, PA 19085
                                           CIVIL ACTION
                                Plaintiff,
               \'.
                                                                                                                               OCTOBER TERM, 2018
     AMICA MUTUAL INSURANCE
     COMPANY                                                                                                                   No.
     100 Amica Wa)
     Lincoln, RI 02865

                                                                                               Defendant.

                                                                                                       NOTICE TO DEFEND
                                                                NCJ'lf\.'J


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            VAN DER VEE'.'l, O'NEILL, HARTSHORN & LEVIN
'-
-.J
            BY:    Michael T. rnn dcr Veen
'·-
N
0
                   11> No. 75616
00                 1219 Spruce Street
N                  Philadelphia, PA 19107
0                  P: (2 I 5) !'\46- I 000                     MA.JOR Jl'RY
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w
N                  F: (2 I 5) 546-8529                         ATTORNEV FOR PLAINTIFF
"C
~            HANNAH CURRA'.\'.                         COURT OF COMMON PLEAS
             800 E. Lancaster A\Cnuc                   PHILADELPHIA COlJNTV
             Villanova. PA 19085
                                                       CIVIL ACTION
                                           Plaintiffs,
                v.
                                                       OCTOBER TERM. 2018
             AMICA MUTUAL l~St:RANCE
             COMPANY                                               N~
             JOO Amica Wa~
             Lincoln. RI 02865

                                                 Defendant.

                                              COMPLAINT IN CIVIL ACTION

                    I.        Plaint1 ff Hannah Curran is an adult mdiv1dual who. at all    tn11e~   rdeHmt !11.·rl'lo.

           resided at V1llano\u University the address indicated abo\e.

                    2        Defendant Amica Mutual Insurance Company (hercmafter ··Amka··). '" an

           insurance company incorporated under the             Jaw~   of Rhode Island with a principal place       lll


           husinc~.-.    l0cated at the address indicated above and is registered to do        busme~<>     wJth !hi.'

           Penns;.h·ania Department of Insurance and regularly conducts bu'>ines<> in Philadelphia.



                                                       COUNT I.
                                                  BREACH OF CONTRACT

                    3        Plamt1ff incorporates by reference thereto the preceding paragraph<> a'.:> though the

           '.'lame V\ere -;et forth herein at length

                   4.        On or about January       ~9.   2017. at approxunately 6·30 p.m .. Plain11ff Hannah

           Curran v.as travelling southbound on V.S. Route 15 on the bridge O\·er \Ifill Creek in 1w!,!a
                                                       2

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       "
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0.._        I O\\nsh1p.   Penns~    lq1111a. and had pulled over to the side of the road on the shoulder and oul       l)I


::.J
t-J         the 1ra\d lane.
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N                  )          On the afixement1oned date and place. a vehicle O\\.!led and OJ11..'rated         b~    an
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'?
w
N           underm~w~d vch1ck          (hereinafter .. tortfeasor") was also tra\eling southbound on lJ.S Rou!L' I.;
"'Cl
~
           when ... he lo"! control of her vehicle and rear-ended Plaintiff Hannah Curran. causing Plaintrfl

           Hannah Curran       10   sufler serious hodil) mjur). as will be described bekm.

                   6.         Pnor to the date of the accident, Defendant Amica 1si.ued a pl1hc: of ,1utomob1 k

           msurance. kml\\,n as Policy No 97093820QS (hereafter ..the Policy .. ).

                   7.         The policy \'was in full force and effect on the date of the accident Said policy

           contained a L \l'lJl\f Endorsement with polic) l1m1ts of $500.000.00. As the dm <.'r o1 the

           aforementioned motor \Chicle insured by Defendant. and a named bcnelicrnr: under the J>oli1.·;..

           Plaintiff Hannah Curran is entitled to Uninsured/Underinsured Motorist CO\erage thc>reunder

                  8.        The tortfoasor was underinsured. whose carrier previously tendered HS m1nrm..il

           polic: limits to the Plamtiff Hannah Curran after Plaintiff Hannah Curran recehed permb-;11111

           from the Defendant to accept the policy.

                  9.        Said tortteasor is considered underinsured and a claim was made bv Plaintlft

           Hannah (\man. pursuant to the policy.

                  IO.       Ac, a direct and proximate result of the negligence of the undcrinsured 'I ortlea<.or.

           Plaintiff Hannah Curran suffered senous and pemrnnent personal injuries. both ph) s1cdl and

           emotional. including but not limited to a concussion, traumatic brain injuf).              memor~     los ....

       cogmti\e d1sabd1ty, headaches and nausea; was caused to endure pam. suffering. mental shock

       and anguish; incurred medical expenses and will m the future incur additional medical              cxpem.e~


                  J l,      A.s a direct and proximate re·rnlt of the negligence of the underinsured forttt.·a ... lw

       Plaintiff /Iannah Curran was prevented from attending to her nonnal activ1t1es and dutrc.;;: lo:-.t
                                                                3
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               time fhlm school and the resultant loss of tuition: suffered impairment of future carnmg capac11:-.
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N              ~uffered     a di1rnnut1on of her quality of life. will endure tuture pain and <>uffcrmg. and                  \AU<.
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N              othen\ 1<;e 111j un.:d and damaged
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                       12           .-\~   a further result of the negligence of the   undcrm~ured     fortfeasor. Plamt1fl
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N


$:
               Hannah Curran has been obligated to receive and undergo medical attention and cure for the

               m.1unes. tt> 1m.:ur various expenses for said care and ma:- be obligated to continue to e'pend                 ~uch

              '>Ulm and to incur such cxp1..·nse~ fi.lr an inddinite period of time in the li.tture.

                       13.          :\s a funher result of the negligence of the underinsurcd Tortfoasor. Plamt1tf

              Hannah Curran has suflered a loss of income and eammg capacity in the future.

                      14.           As a dired result of the negligence of the underinsured Tortfca<>or. J>lamt1ff

              Hannah Curran has or ma} hi.:reatier incur other financial e-xpenscs or losses to \\ h1ch he ma:

              otherwise be entitled to reco\er.

                      15.           Plaintiff Hannah Curran made an t;nderinsured Motorist claim            to   Detend,111r

              Armca under the polic) regarding the aforementioned motor vehicle accident Plaintiff prm 1J1:J

              Defendant v.ith medical records. outstanding bills and                a.-;~ociated   documents m        ~eekm~


              Plaintiffs policy limits.

                      16.       Defendant Amica has refused to settle Plaintiff Hannah Curran·s \alid claun \dth

              a reasonahle estimate of Plaintiff Hannah Curran's injuries and damages, in \ iolatwn of                         1t.:.


              contractual and statutor: obligations

                      17        Defendant has a contractual obligation to compensate Plamt1ff 1Iannah ( ·urran fo1

              her damage<;. \\hich the} have breached.

                      18.       Plaintiff Hannah Curran demands that the Defendant make payment to

              compensate      the    Plaintiff pursuant to its Underinsured Motor Vehicle Polic,:. which         j.., <.1   \al1d

              claim. an obligat10n that the Defendant has not met
                                                                     4

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                19      .\ccordmgly. Plamt1tf rlannah Curran         ~eek    recovery under the terms of tht· poli1..:-
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- .J
i:)     \\1th Defendant. together \\ ith all other .:.tatutory damages as is legally appropriah: under 42 P~i
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       (on<; Stat.   ~83 71.   including reasonable attorney·s foes. costs and interest

               WHERF.FORF:, Plaintiff Hannah Curran demand~ damages                         tlf   Defendant   111   a 'um    111


       C:XCC% 0f r1n~    rhousand ($50.000.00) Dollars includ111g. pursuant to the abO\·C s.tatute. 1nt1.·rc ... t.

       puniti\e   dama~es.     court costs and attorney'1, fees.

                                                       COUNT II.
                                                       BAD FAITH

               20       Plaintiff incorporates by reference thereto the preceding paragraph<> as though the:

       same were set fi.>rth herein at length

               21       On or about Fehruary 7. 1990. the Go'vernor of Pennsylvania signed                    1ntP   la\\ ..J]

       P S Section 8 371. effective July 1. 1990. titled. "Actions on Insurance Pol ic1es". \\hich pro\ ide<..

       a prnate cause of action for bad faith against insurance companies as            folio\\.~.


               "In an action ari<;ing under an insurance policy. if the court finds thm the in-;urcr has .lctcd
               in bad faith tov,ard the insured, the court may take all of the follo\\.ing act1om

                                  Award interest on the amount of the claim from the date the claim
                                      was made by the insured in an amount equal to tht: prime rate ot
                                      mterest plus 3%.
                                (2)   Award punitive damages against the insurer
                                (3)   Assess court costs and attorney fees against the insurer".

                       De fondant has failed to provide payment of Plaintiffs medical bills and 'or lo-;t

       \\<ages under the policy of insurance m force on the        da~   of the accident.




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                                                                                                                      ca~e    II) IH10Ulb69
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        WHEREFORE. Plaintiff demands of Defendant the pa)'ment of med1t:al hills. plu-.

reasonable attorne) 's lees. costs and interest on <;aid overdue benefits.

                                        VAN DER VEEN. O'NEILL, HARTSHOR!\ & LEVI:\


DATE                                    BY·    - - - : : : 7 " ' - - - - - - - - · - - ··- .... "
                                                          \an der Veen. Esq
                                               Attorney for Plaintiff




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                                                   VERIFICATION
-.J
;:::i
0
00                I. Michael I van dcr Veen. Esquire. verif) that I am the attorney for Plaint1tf h~re111 and
N
0
0       that the statements made herein are true and correct to the best of my knov.led!!e. informatwn and
w
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'"Cl
$'.'.   belief.

                  I fu11her understand that this statement is made subject to the penalties of 18 Pa ( · S   ~


        -t904 rel at mg to the unsworn fals1 tication to authorities.




                                                             Michae&een.~
                                                             Attorne\. for Plaintiff   ,




        Date: 10112!18




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